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                                                                              2020 Oct-09 AM 10:41
                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

DONALD ADAM HARMON,                       )
                                          )
       Petitioner,                        )
                                          )
v.                                        )   Case No. 2:20-cv-00576-LSC-GMB
                                          )
JOHN SAMANIEGO, et al.,                   )
                                          )
       Respondents.                       )

                         MEMORANDUM OPINION

      Petitioner Donald Adam Harmon filed pro se this action for a writ of habeas

corpus pursuant to 28 U.S.C. § 2241, on or about April 28, 2020. (Doc. 1). The

petitioner claims that the assault charges against him should be dismissed because

the alleged victim has no injuries. (Doc. 1 at 17). On September 9, 2020, the

Magistrate Judge entered a report and recommendation pursuant to 28 U.S.C.

§ 636(b) that the habeas petition be dismissed without prejudice based on the

petitioner’s failure to exhaust his state-law remedies. (Doc. 17). Although the

petitioner was notified of his right to file objections to the report and

recommendation within fourteen (14) days, no objections to the report and

recommendation have been filed with the court.

      Having carefully reviewed and considered de novo all the materials in the

court file, including the Magistrate Judge’s Report and Recommendation, the court
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is of the opinion that the magistrate judge’s findings are due to be and are hereby

ADOPTED and his recommendation is ACCEPTED. Accordingly, the petition for

writ of habeas corpus is due to be DISMISSED WITHOUT PREJUDICE to allow

the petitioner to exhaust his available state court remedies.

      A separate Final Judgment will be entered.

      DONE and ORDERED on October 9, 2020.



                                        _____________________________
                                                  L. Scott Coogler
                                             United States District Judge
                                                                             160704




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